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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO



     D&Z AUCTION RESELLERS, LLC and                          CIVIL NO. 19-CV-01242
     GUSTAVO A. MORENO PONCE

                 Plaintiffs,                           COPYRIGHT INFRINGEMENT;
                                                   VIOLATION OF DIGITAL MILLENNIUM
                          v.                       ACT; COMPUTER FRAUD AND ABUSE

     MEDI DATA CORPORATION, et al.,

                 Defendants.



  DEFENDANT NUESTRA FARMACIA SAN FRANCISCO’S MOTION TO DISMISS
 THE AMENDED COMPLAINT, [DKT_106], PURSUANT TO FED. R. CIV. P. 12(b)(6)


TO THE HON. JUDGE WILLIAM G. YOUNG
U.S. DISTRICT JUDGE:

       COMES NOW co-defendant, NUESTRA FARMACIA SAN FRANCISCO, LLC (“NFSF”),

through its undersigned counsel, and very respectfully submits this motion to dismiss Plaintiff’s

claims against it, thereunder Rule 12(b)(6) of the Federal Rules of Civil Procedure, and decorously

states as follows:

                                   I.      INTRODUCTION

       Plaintiffs’ only remaining claim seeks damages for the allegedly willful infringement of

their exclusive reproduction rights. The facts that support this infringement are made “upon

information and belief”, however no specific allegations as to the extent of the infringement are

made. The remaining facts in the Complaint—when taken as true for the purposes of this motion—

do not allege any cognizable claim for relief. Therefore, the remaining copyright claim against

NFSF must be dismissed.
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                                        II.     ARGUMENT

1.      Legal Standard

        To survive a motion to dismiss for failure to state a claim, a complaint must contain

“enough facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly,

550 U.S. 544, 570 (2007). “A pleading that offers ‘labels and conclusions’ or ‘a formulaic

recitation of the elements of a cause of action will not do.’” Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009) (citing Twombly, 550 U.S. at 555). The factual allegations must be sufficient to provide

the defendant with notice of the claims against it and the grounds for entitlement to relief.

Twombly, 550 U.S. at 555-556; see also Ruivo v. Wells Fargo Bank, N.A., 766 F.3d 87, 91 (1st

Cir. 2014) (Rule 8 requires a complaint to “give the defendants notice of the nature of the claim

against them[.]”) Under Iqbal and Twombly, “where the well-pleaded facts do not permit the court

to infer more than the mere possibility of misconduct, the complaint has . . . not shown . . . that the

pleader is entitled to relief.” Sun West Mortg. Co. v. Flores, 2016 U.S. Dist. LEXIS 31149, at *5-6

(D.P.R. Mar. 10, 2016).


2.      Plaintiff’s Copyright Infringement Claim Does Not Meet Federal Pleading Standards

        Federal Rule of Civil Procedure 8(a)(2) requires a “short and plain statement of the claim

showing that the pleader is entitled to relief.” This rule “require[s] a plaintiff to plead with

specificity the acts by which a defendant has committed copyright infringement.” Marvullo v.

Gruner & Jahr, 105 F. Supp. 2d. 225, 230 (S.D.N.Y. 2000). A claim is subject to dismissal under

Federal Rule of Civil Procedure 12(b)(6) if it does not “contain sufficient factual matter, accepted

as true, to ‘state a claim to relief that is plausible on its face.’ ” Ashcroft v. Iqbal, 556 U.S. 662,

677 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). To withstand a motion

to dismiss, “factual allegations must be enough to raise a right to relief above the speculative level.”

Twombly, 550 U.S. at 545. Indeed, “the pleading must contain something more ... than ... a

statement of facts that merely creates a suspicion [of] a legally cognizable right of action.” Id. at
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555 (emphasis added) (internal citation omitted). Likewise, a complaint must account “for more

than a sheer possibility that a defendant has acted unlawfully.” Iqbal, 556 U.S. at 677. (emphasis

added). Here, Plaintiff’s copyright infringement claim is mere speculation and therefore fails to

satisfy applicable pleading standards.

3.       The Complaint fails to State a Claim for Copyright Infringement against NFSF.

         When a plaintiff alleges copyright infringement, it has the burden of establishing and

proving (1) ownership of a valid copyright and that (2) constituent elements of the work, that are

original, have been copied. Airframe Sys., Inc. v. L-3 Commc’ns Corp., 658 F.3d 100, 105 (1st Cir.

2011).

         Here, Plaintiffs have claimed and generalized more than 10 defendants under the same

allegations and has made failed to distinguish between any of them. The copyright allegations of

the Amended Complaint are the following:

         Paragraph 26. “Upon information and belief, Defendant Luis Duran informed his
         formerly served pharmacies that the data under PharmaScan program encryption
         could be retrieved and transferred into the new services program he was selling for
         the benefit of his new employer Medi Data Systems, without the need to request
         and obtain plaintiffs' authorization.

         Paragraph 27. “Defendants Luis and Genaro Durán de-encrypted the data and
         transferred it to the client’s new servers, saving hundreds of hours in data entry for
         the new programs.”

         Paragraph 34. “Upon information and belief, Defendant Nuestra Farmacia San
         Francisco accessed and utilized the program PharmaScan after the termination of
         its license for purposes beyond access to the data.”

         Defendants remaining cause of action for copyright infringement, as stated in paragraph 44

of the Amended Complaint. is that Defendants willfully and unlawfully reproduced Plaintiffs’

PharmaScan Software.

         Plaintiffs claim is based only on conjecture and is utterly lacking in factual basis. The

complaint merely states that Defendants “accessed and utilized the program after termination of

its license for purposes beyond access to the data”. The Amended Complaint fails to state any facts
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regarding purposes beyond access to the data. It is merely a conclusory allegation unsupported by

facts.

         More so, any access by the Defendants to, as alleged by Plaintiff, extract the pharmacy’s

patient data to transfer it to the client’s new servers, saving hundreds of hours in data entry for the

new programs, is fair use under Copyright law.

         In Assessment Technologies of WI, LLC v WIREdata, Inc., a case of copyright infringement

were the owner of a copyrighted software used to compile and store real estate tax assessment data

asserted infringement claim against a company seeking access to data for use by real estate brokers,

the court ruled:

                From the standpoint of copyright law all that matters is that the process of
                extracting the raw data from the database does not involve copying Market
                Drive, or creating, as AT mysteriously asserts, a derivative work; all that is
                sought is raw data, data created not by AT but by the assessors, data that are
                in the public domain. A derivative work is a translation or other
                transformation of an original work and must itself contain minimum
                originality for the same evidentiary reason that we noted in discussing the
                requirement that a copyrighted work be original. Pickett v. Prince, 207 F.3d
                402, 405 (7th Cir.2000); Gracen v. Bradford Exchange, 698 F.2d 300, 304–
                05 (7th Cir.1983). A work that merely copies uncopyrighted material is
                wholly unoriginal and the making of such a work is therefore not an
                infringement of copyright. The municipalities would not be infringing
                Market Drive by extracting the raw data from the databases by either
                method that we discussed and handing those data over to WIREdata; and
                since there would thus be no direct infringement, neither would there be
                contributory infringement by WIREdata. It would be like a Westlaw
                licensee's copying the text of a federal judicial opinion that he found in
                the Westlaw opinion database and giving it to someone else. Westlaw's
                compilation of federal judicial opinions is copyrighted and copyrightable
                because it involves discretionary judgments regarding selection and
                arrangement. But the opinions themselves are in the public domain
                (federal law forbids assertion of copyright in federal documents, 17 U.S.C.
                § 105), and so Westlaw cannot prevent its licensees from copying the
                opinions themselves as distinct from the aspects of the database that are
                copyrighted. See Matthew Bender & Co. v. West Publishing Co.,158 F.3d
                693 (2d Cir.1998); Matthew Bender & Co. v. West Publishing Co., 158 F.3d
                674 (2d Cir.1998).

350 F. 3d 640, 644 (7th Cir. 2003).
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       The access by Defendants to the Plaintiffs’ software—as alleged by the Plaintiffs— is

similar to that in Assessment Technologies and, thus, constitutes fair use. Here, Defendants sought

to retrieve the raw data input by the Defendants themselves, data that is unprotected and not subject

to copyright. The fact that the Defendants might have used the Plaintiffs’ software to access the

data, as alleged by the Plaintiffs, does not change the outcome. See Evolution, Inc. v. SunTrust

Bank, 342 F.Supp.2d 943, 952, 955–56 (D.Kan. 2004) (holding incidental copying of the plaintiff's

software source code to extract and convert the defendant's raw data for use by software of another

vendor was fair use). Plaintiffs cannot hold Defendant's raw data hostage by imposing a monopoly

of access under the auspices of copyright.

       The court further noted:

               AT would lose this copyright case even if the raw data were so entangled
               with Market Drive that they could not be extracted without making a copy
               of the program. The case would then be governed by Sega Enterprises Ltd.
               v. Accolade, Inc., 977 F.2d 1510, 1520–28 (9th Cir.1992). Sega
               manufactured a game console, which is a specialized computer, and
               copyrighted the console's operating system, including the source code.
               Accolade wanted to make computer games that would be compatible with
               Sega's console, and to that end it bought a Sega console and through reverse
               engineering reconstructed the source code, from which it would learn how
               to design its games so that they would activate the operating system. For
               technical reasons, Accolade had to make a copy of the source code in order
               to be able to obtain this information. It didn't want to sell the source code,
               produce a game-console operating system, or make any other use of the
               copyrighted code except to be able to sell a noninfringing product, namely
               a computer game. The court held that this “intermediate copying” of the
               operating system was a fair use, since the only effect of enjoining it would
               be to give Sega control over noninfringing products, namely Accolade's
               games. See also Sony Computer Entertainment, Inc. v. Connectix
               Corp., 203 F.3d 596, 602–08 (9th Cir.2000); Bateman v. Mnemonics,
               Inc., 79 F.3d 1532, 1539–40 n. 18 (11th Cir.1996); Atari Games Corp. v.
               Nintendo of America, Inc., 975 F.2d 832, 842–44 (Fed.Cir.1992). […]

               Similarly, if the only way WIREdata could obtain public-domain data about
               properties in southeastern Wisconsin would be by copying the data in the
               municipalities' databases as embedded in Market Drive, so that it would be
               copying the compilation and not just the compiled data only because the
               data and the format in which they were organized could not be disentangled,
               it would be privileged to make such a copy, and likewise the
               municipalities. For the only purpose of the copying would be to extract
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               noncopyrighted material, and not to go into competition with AT by selling
               copies of Market Drive. We emphasize this point lest AT try to circumvent
               our decision by reconfiguring Market Drive in such a way that the
               municipalities would find it difficult or impossible to furnish the raw data
               to requesters such as WIREdata in any format other than that prescribed by
               Market Drive. If AT did that with that purpose it might be guilty of
               copyright misuse, of which more shortly.

Assessment Technologies of WI, LLC v WIREdata, Inc., 350 F. 3d 644-646 (emphasis added).

Taking as true the allegations of the complaint that, Defendants accessed and used Plaintiffs

software and copied the patients data for purposes of saving hundreds of hours in data entry for

the new program, there is no copyright infringement.

4.     The Complaint fails to State a Claim for Contributory Copyright Infringement
       against NFSF.

       If we were to assume that Plaintiff is claiming contributory infringement, which is not

specifically pled, to plead contributory infringement, the Plaintiffs must allege: (1) direct copyright

infringement by a third party; (2) knowledge by the defendants that the third party was directly

infringing; and (3) defendant induced, caused, encouraged, or materially contributed to the

infringement. Leonard v. Stemtech Int’l, Inc., 2016 U.S. App. LEXIS 15565, at *15-16 (3d Cir.

Aug. 24, 2016); Visuals Unlimited, 2014 U.S. Dist. LEXIS 49590, at *9 (E.D. Pa. Apr. 10, 2014)

(Slomsky, J.); Gordon v. Pearson Educ. Inc., 85 F. Supp. 813, 817 (E.D. Pa. 2015) Plaintiffs fail

to describe in what matter were NFSF actions constituted copyright infringement; because in order

to have a legally sufficient claim for contributory copyright infringement, there must be an

allegation of a direct copyright infringement.

       For a plaintiff to prevail on a contributory infringement claim, a defendant must have

 knowledge or reason to have knowledge of direct infringement and must provide material

 assistance to the infringer. A & M Records, Inc. v. Napster, Inc., 239 F.3d 1004, 1019–22 (9th

 Cir.2001). The Complaint presented alleges no specific facts related to NFSF rather bases its

 arguments that “[u]pon information and belief, Defendant Nuestra Farmacia San Francisco,
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 aided by Defendants Luis and Genaro Duran, made unauthorized copies of the program

 PharmaScan after the termination of the license” This claim provides no further explanation

 upon what copies of the program where made and what was copied or the intention; furthermore

 omits the purpose of said “copies”. These “factual allegations… based on ‘information and

 belief’ and contain[ing] nothing more than a rote recitation of the required elements of each

 respective claim… fall well short of the requirements set forth in Iqbal.” Simonyan v. Ally Fin.

 Inc., 2013 WL 45453, at *2 (C.D.Cal. Jan.3, 2013). “In the post-Twombly and Iqbal era, pleading

 on information and belief, without more, is insufficient to survive a motion to dismiss for failure

 to state a claim.” Solis v. City of Fresno, 2012 WL 868681, at *8 (E.D.Cal. Mar.13, 2012). See

 also, Vivendi SA v. T–Mobile USA Inc., 586 F.3d 689, 694 (9th Cir.2009).

        Furthermore, on Paragraph 26 of the Amended Complaint Plaintiffs allege: “Upon

 information and belief, Defendant Luis Duran informed his formerly served pharmacies that the

 data under PharmaScan program encryption could be retrieved and transferred into the new

 services program he was selling for the benefit of his new employer Medi Data Systems, without

 the need to request and obtain plaintiffs' authorization.

        The United States Supreme Court established the elements of contributory copyright

infringement in Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd. 545 U.S. 913, 930. The

Court contended, “one infringes contributorily by intentionally inducing or encouraging direct

infringement.” (Emphasis added). The Court further explained that, in addition to intent to bring

about infringement and distribution of a device suitable for infringing use, the inducement theory

requires evidence of actual infringement by recipients of the device, the software as in this case.

Id. at 940.

        The allegations of the Amended Complaint clearly indicate facts that are inconsistent with

a determination of copyright infringement. Paragraph 26 clearly states that the pharmacies were

informed by the Defendant Duran that the data under Plaintiffs’ software could be retrieved and
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transferred “without the need to request and obtain plaintiffs’ authorization”. This allegation—

which must be taken as true for purposes of this motion— clearly establishes that NFSF and the

pharmacies had no knowledge that the act of the Duran’s and the programmers in accessing

Plaintiffs’ software to extract NFSF’s patient’s data could constitute copyright infringement.

Therefore, no contributory liability is possible in this case.

5.     Copyright Registration

       Pursuant to the Copyright Act, “no civil action for infringement of the copyright in any

United States work shall be instituted until registration of the copyright claim has been made”

with the Copyright Office. 17 U.S.C. § 411(a). In the present Complaint, plaintiff Gustavo

Moreno, owner of the computer program “PharmaScan”, alleges that said program is registered

in the Copyright Office. However, Plaintiff has provided no evidence of said registration, either

through submitting a copy of the registration or the certificate of registration number.

       More     so,   providing    evidence    of   the   source   code version covered    by   the

copyright registration is imperative because it allows for a "direct comparison" between the

allegedly infringing program and the precise version of the software program covered by the

copyright—contrary to a newer version of the software program that has not been

registered. See Airframe Systems v. L-3 Communs Corp., 658 F. 3d 106-07. Here, the alleged

copyright registration of the “PharmaScan” software is for a version of a software dated on 1989.

Under applicable law, a prior registration for a computer software does not include or protect any

further versions or amendments that the software may add or amend throughout the years.

In Airframe Systems, the First Circuit affirmed summary judgment for the defendant where the

plaintiff alleged copyright infringement of its software program but did not present any evidence

of the source code. 658 F.3d at 106. The Airframe Systems court ruled that before the substantial

similarity analysis can occur, "the plaintiff must necessarily establish the content of the

copyrighted work that it contends was infringed." Id. (emphasis added). Accordingly, the plaintiff
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was required "to present sufficient evidence of copying (including substantial similarity) with

respect to at least one of the [software program's] source code versions covered by its

copyright registrations." Id.; see also Bridgmon v. Array Sys. Corp., 325 F.3d 572, 576-77 (5th

Cir. 2003). Puerto Rico v. OPG Tech., Inc., No. 15-3125 (JAG/BJM), 2016 U.S. Dist. LEXIS

138863, at *42-43 (D.P.R. Sep. 6, 2016). Plaintiffs have not complied with these requirements in

order to establish any relation between their 1989 protected software and the uncopyrightable

patient’s information that was allegedly copied. More so, it is highly unlikely that, considering

how rapid the software industry changes, the version of the software being used by the Defendants

when the alleged licenses were terminated in 2016 was anything close to the software version

registered in the year 1989. Therefore, although this Court has plenty of reasons to dismiss the

Complaint, failure by Plaintiffs to submit both, the Certificate of Registration information and the

deposit copy of the 1989 version of the software subject to the Certificate of Registration are

further grounds for dismissing the Amended Complaint.

                                     III.    CONCLUSION

       Whereas stated above, regarding defendant NFSF, under Rule 12(b)(6), we respectfully

request that this Honorable Court dismiss Plaintiffs’ Amended Complaint [Dkt_106] with

prejudice for failure to state a claim upon which relief may be granted, and that it grant any other

relief that this Honorable Court understands just and proper.

       Respectfully submitted.

                                                                s/Carla Ferrari Lugo
                                                                   Carla Ferrari Lugo
                                                                   USDC No. 221804

                                                                   P.O. Box 988
                                                              Aguadilla, PR 00605-0988
                                                             ferraric@ferrarilawpr.com
 Dated: December 2, 2020                                          (787) 891-4255
        Aguadilla, Puerto Rico                                    (787) 986-7493
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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on this same date, I electronically filed the foregoing motion with the
Clerk of the Court using the CM/ECF system which will send notification of such filing to the
attorneys of record.
                                                                s/ Carla Ferrari Lugo
                                                                 Carla Ferrari Lugo
